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                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE EASTERN DISTRICT OF TEXAS
                                  SHERMAN DIVISION

THE DIAMOND CONSORTIUM, INC.                      §
D/B/A THE DIAMOND DOCTOR, ET AL                   §
                                                  §
Plaintiffs,                                       §
                                                  §    Civil Action No. 4:17-CV-452
vs.                                               §    Judge Mazzant
                                                  §
MARK HAMMERVOLD, ET AL,                           §
                                                  §
Defendants,

       PLAINTIFFS’ SURREPLY IN OPPOSITION TO DEFENDANTS’ MOTION
      FOR ATTORNEYS FEES AND COSTS PURSUANT TO 28 U.S.C. § 1927 AND
       COMMON LAW “BAD FAITH” EXCEPTION TO THE AMERICAN RULE

TO THE HONORABLE UNITED STATES DISTRICT COURT:

        COME NOW The Diamond Consortium, Inc. d/b/a the Diamond Doctor and David

Blank (collectively “Plaintiffs”), and file this Surreply in Opposition to Defendants’ Motion for

Attorneys’ Fees and Costs Pursuant to 28 U.S.C. § 1927 and Common Law “Bad Faith”

Exception to the American Rule (Dkt. 94) and would show as follows:

        In an apparent attempt to turn the evidentiary tables, Defendants’ reply argues that

Plaintiffs are required to present this Court with evidence to avoid the imposition of sanctions.

But it is not Plaintiffs who are required to prove anything regarding the underlying motion.

Defendants must prove bad faith if they want sanctions awarded in their favor. They have not

sustained that burden.

        A. Defendants improperly seek to shift the burden of proof to Plaintiffs.

        Although Plaintiffs’ claims have been dismissed without prejudice – and without

objection by Defendants – Defendants now apparently seek to compel Plaintiffs to prove their

entire case against the Hammervold Defendants in response to a motion for sanctions.




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Defendants improperly rely on the Local Rules of this Court to somehow suggest that Plaintiffs

must marshal their evidence proving their underlying RICO and conspiracy claims in order to

demonstrate that they did not act in bad faith in filing and prosecuting this case. This is wholly

contrary to and unsupported by the authorities set forth in the parties’ briefing.

       Indeed, Defendants have cited to no authority that would require Plaintiffs to identify the

“specific” information, deposition testimony or trial exhibits “supporting their claims against

Hammervold” to avoid a finding of bad faith. Dkt. 104 at 2-3. In fact, as acknowledged by

Defendants’ own authority, a lack of evidentiary support for claims is not evidence of bad faith,

improper motive, or reckless disregard of the duty owed to the Court. Flanagan v. Havertys

Furniture Cos, Inc., 484 F. Supp. 2d 580, 582 (W.D. Tex. 2006) (cited by Defendants at Dkt. 94

at 3). Rather than challenge the merits of the case, the bad-faith exception seeks to punish “the

conduct of the party and the party’s counsel during the litigation of the case.” Id.

       The deposition testimony from several jewelers attached to Defendants’ reply does not

evidence bad faith by Plaintiffs, nor does it establish that Plaintiffs’ claims were filed for an

improper purpose. Plaintiffs certainly could offer counter-deposition excerpts, affidavits, and

documentary evidence to lay the groundwork for their case on the merits, but Plaintiffs are not

required to do that at this time. Indeed, what the evidence and testimony in this case would show

about the conspiracy against Plaintiffs and other jewelers, and specifically the Hammervold

Defendants’ role in it, is not relevant to the imposition of sanctions whatsoever. This case is

wholly distinguishable from the Blakeman case cited by Defendants. In that case, the sanctioned

party failed to respond to several summary judgment and other motions, served improper

discovery requests after summary judgment had been granted against him, submitted false

interrogatory responses, failed to designate expert witnesses who the court found necessary to

prove a legal malpractice case, and made numerous admissions regarding the lack of evidentiary



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basis for his claims during a hearing before the court. See In re Western Fidelity Marketing, Case

4:01mc20 (Bankr. N.D. Tex. May 31, 2001 Findings of Fact and Conclusions of Law). None of

these facts are present here.

           Defendants’ arguments regarding the evidentiary basis of the case are nothing more than

speculative and untimely challenges to Plaintiffs’ legal theories and how Plaintiffs intended to

establish the very complex extortion campaign forming the basis of the RICO claims against the

Hammervold Defendants. Such challenges are not enough to establish that Plaintiffs conducted

this litigation in bad faith. Scott Fetzer Co. v. House of Vacuums Inc., 381 F.3d 477, 490 (5th Cir.

2004) (“a party has not acted in bad faith simply by predicating its legal claim on a controversial

and unsettled legal theory.”).

           Contrary to Defendants’ argument (Dkt. 104 at 2), Plaintiffs have not incorrectly asserted

anything about the Court’s prior consideration of Defendants’ evidentiary arguments. In their

motion for leave to file a motion for summary judgment, Defendants asked for “the opportunity

to present a concise Motion for Summary Judgment based on the applicable law and testimonial

admissions from Blank’s deposition, which will demonstrate that the Plaintiffs never had any

evidentiary basis for their claims as against Hammervold.” Dkt. 59 at 4. This Court denied that

motion for leave. Dkt. 80. Defendants should not be permitted to use their motion for sanctions

as a vehicle to make the same evidentiary argument as the motion Defendants were not permitted

to file.

           Plaintiffs were prepared to proceed to trial. Plaintiffs have offered settlement

communications and deposition testimony to show that Plaintiffs’ dismissal had absolutely

nothing to do with the merits of their claims or the evidentiary basis for them. See Dkts. 97-1; 99

(Exs. B-1; B-2); 101-1. And, even had Defendants prevailed on any evidentiary argument at trial,

Defendants would not have been entitled to an award of attorney’s fees. Chang v. Chen, 95 F.3d



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27, 28 (9th Cir. 1996). Plaintiffs cannot now be punished for not wanting to incur the expense of

a trial that would be a fruitless financial pursuit given Defendants’ inability to satisfy any

judgment awarded. 1

         B. Defendants have not proven any bad faith by Plaintiffs or their counsel.

         Regardless of their attempts to have Plaintiffs marshal their evidence, Defendants must

prove through clear and convincing evidence why they are entitled to an award of attorney’s

fees. In re Moore, 739 F.3d 724, 730 (5th Cir. 2014) (“[T]he finding of bad faith must be

supported by clear and convincing proof.”); Procter & Gamble Co. v. Amway Corp., 280 F.3d

519, 526 (5th Cir. 2002) (“To shift the entire cost of defense, the claimant must prove, by clear

and convincing evidence, that every facet of the litigation was patently meritless, … and counsel

must have lacked a reason to file the suit and must wrongfully have persisted in its prosecution

through discovery, pre-trial motions, and trial…”) (internal citation omitted). “The standard for

the imposition of sanctions using the court’s inherent powers is extremely high.” Goldin v.

Bartholow, 166 F.3d 710, 722–23 (5th Cir. 1999). Defendants cannot meet this standard.

         Defendants have not identified any materials filed with this Court that were false, lacked

credibility or were otherwise made in bad faith, nor have they identified any specific actions

which were taken by Plaintiffs in this litigation for the purposes of harassment or which were

objectively frivolous or caused Defendants to spend unnecessary time and resources. Moench v.

Marquette Transp. Co. Gulf-Inland, L.L.C., 838 F.3d 586, 595 (5th Cir. 2016); NASCO, Inc. v.

Calcasieu Television & Radio, Inc., 894 F.2d 696 (5th Cir. 1990).

         Instead, their argument appears to be that Plaintiffs should have never sued them in the

first place. Defendants surmise that Plaintiffs’ suit was filed in order to prevent them from filing


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  To the extent the Court finds that Plaintiffs are required to prove the evidentiary basis of their claims in order to determine
whether they acted in bad faith, Plaintiffs seek a hearing before this Court to determine whether the dismissal should be vacated
and the case reset for trial.



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claims against Plaintiffs in the future. But, they have no clear and convincing evidence of that

purely speculative contention. The fact is that – and Defendants have not disputed this claim –

Hammervold continued his representation of consumer clients against the Diamond Doctor while

this case proceeded at the trial and appellate courts. Defendants’ consumer practice was not

restricted in any way by the filing or pendency of this suit. Defendants’ purported evidence,

which includes an unsworn and unauthenticated email to a journalist, communications between

jewelers regarding how to respond to the extortion scheme lodged against them, and settlement

communications made after suit was filed, does not establish that the Hammervold Defendants

were named in this conspiracy suit for the purpose of getting them to agree not to represent

individuals against the Diamond Doctor.

       Plaintiffs sued the Hammervold Defendants because they were a necessary part of

Defendants’ illegal extortion scheme. See Dkt. 2 at ¶70. And, as this Court found, Plaintiffs

“sufficiently alleged that the Hammervold Defendants were a necessary part of this scheme to

allow Manookian and his firm to avoid an appearance of conflict when they entered into

engagement agreements.” Dkt. 11 at 6.

       Although Defendants now speculate as to why Plaintiffs sued them, Plaintiff David Blank

was never asked at his deposition regarding why he filed suit against the Hammervold

Defendants. In fact, the Hammervold Defendants never deposed Plaintiffs. Although Mr. Blank

was identified as an individual who Defendants anticipated deposing after the stay was lifted, see

Dkt. 23 at 12, Defendants did not seek that deposition prior to the close of discovery.

Defendants’ evidence does not establish bad faith in filing suit, and the record shows that –

regardless of whether a jury ultimately found that the evidence supported Plaintiffs’ claims, as

such evidentiary question is one reserved for trial – Plaintiffs successfully stated viable claims

against them.



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        “The threshold to invoke the inherent power to sanction is high and is to be used only

when a court finds that ‘fraud has been practiced upon it, or that the very temple of justice has

been defiled.’” SFA Sys., LLC v. 1-800-Flowers.com, Inc., No. 6:09-CV-340, 2014 WL

10919514, at *2 (E.D. Tex. July 8, 2014) (citing Chambers, 501 U.S. at 46). Defendants seek

over $100,000 in attorneys’ fees. They have not offered a single billing statement in support of

their request. They seek costs but do not state what taxable costs they incurred. They claim bad

faith but offer nothing credible to the Court that would demonstrate that Plaintiffs or their

counsel acted frivolously, vexatiously, or for any improper purpose.

        Nothing about the relevant legal authorities or Local Rules of this Court requires

Plaintiffs to provide any specific type or amount of evidence to show why sanctions are not

warranted. Defendants must prove why they should be awarded attorneys’ fees in a case where

they were never entitled to them. They have not done so. Defendants’ motion (Dkt. 94) should be

denied in its entirety.

                                            Respectfully submitted,

                                            STECKLER GRESHAM COCHRAN

                                             /s/ Bruce W. Steckler
                                             Bruce W. Steckler
                                             Texas Bar No. 00785039
                                             L. Kirstine Rogers
                                             Texas Bar No. 24033009
                                             Braden M. Wayne
                                             State Bar No. 24075247
                                             12720 Hillcrest Road – Suite 1045
                                             Dallas, TX 75230
                                             Telephone: 972-387-4040
                                             Facsimile: 972-387-4041
                                             krogers@stecklerlaw.com
                                             bruce@stecklerlaw.com
                                             braden@stecklerlaw.com

                                             JOHNSTON TOBEY BARUCH, P.C.
                                             Randy Johnston
                                             State Bar No. 10834400


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                                            3308 Oak Grove Avenue
                                            Dallas, TX 75204
                                            Telephone: 214-741-6260
                                            Facsimile: 214-741-6248
                                            randy@jtlaw.com

                                            FEE, SMITH, SHARP & VITULLO, LLP
                                            Thomas W. Fee
                                            State Bar No. 06873160
                                            Howard J. Klatsky
                                            State Bar No. 00786024
                                            Three Galleria Tower
                                            13155 Noel Road, Suite 1000
                                            Dallas, Texas 75240
                                            Telephone: 972-934-9100
                                            Facsimile: 972-934-9200
                                            tfee@feesmith.com
                                            hklatsky@feesmith.com

                                            ATTORNEYS FOR PLAINTIFFS THE DIAMOND
                                            CONSORTIUM, INC. D/B/A THE DIAMOND
                                            DOCTOR, AND DAVID BLANK

                               CERTIFICATE OF SERVICE

       The undersigned certifies that on April 17, 2019, a true and correct copy of the foregoing
was served upon all counsel of record via the Court’s ECF system.


                                            /s/ Bruce W. Steckler
                                            Bruce W. Steckler




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